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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                              NEWNAN DIVISION


HARRY LEWIS,                           )
                                       )
      Plaintiff,                       )       CIVIL ACTION
                                       )       FILE NO.: 3:23-cv-00126-TCB
v.                                     )
                                       )
CITY OF WOODBURY, et al.               )
                                       )
      Defendants.                      )

 DEFENDANTS CITY OF WOODBURY AND CORPORAL MCDANIEL’S
    RESPONSE IN OPPOSITION TO PLAINTIFF’S MOTION FOR
 INJUNCTIVE RELIEF AND PARTIAL MOTION FOR JUDGMENT ON
                     THE PLEADINGS

      COME NOW, defendants City of Woodbury and Corporal Robert McDaniel

and file their response in opposition to plaintiff’s motion for injunctive relief

pursuant to Fed. R. Civ. P. 65 and motion for judgment on the pleadings pursuant

to Fed. R. Civ. P. 12(c) and Local Rule 7.1(C) (Doc. 15), showing as follows:

                             I.    INTRODUCTION

      This case arises out of plaintiff’s arrest for violating City of Woodbury’s

disorderly conduct ordinance. Plaintiff seeks to put the cart before the horse by

filing a motion for injunctive relief and for a partial motion for judgment on the

pleadings, arguing that the City’s ordinance is facially invalid because it regulates

speech. (Doc. 15-1, p. 6.) The City’s ordinance is not facially unconstitutional


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because it regulates conduct, not speech. Therefore, plaintiff’s motion for

preliminary injunction fails. Likewise, plaintiff’s motion for partial judgment on

the pleadings on his municipal liability claim against the City is premature. Finally,

Corporal McDaniel is entitled to qualified immunity as to plaintiff’s unlawful

seizure claim because the ordinance at issue is constitutionally valid.

      FACTUAL ALLEGATIONS OF THE COMPLAINT IN DISPUTE

      While plaintiff claims that “key facts” are undisputed, that is not true.

Defendants dispute the following facts as alleged in the complaint:

   1. “On July 2, 2021, plaintiff was arrested under ordinance § 16-67 for saying

      that the City Employees at the Municipal Center were ‘racist’ when they

      declined to take action to restore his home water service during the heat of

      the July summer.” (Doc. 1, ¶ 10.) While plaintiff’s alleges he was arrested

      for what he said, these defendants denied the allegation as stated because

      they contend plaintiff was arrested for his conduct. (Doc. 6, ¶ 10.)

   2. “Defendant Matthews then knowingly and intentionally made false

      statements to the Woodbury police, falsely reporting that plaintiff ‘accosted’

      him and had yelled and cursed at him, which did not happen. (Doc. 1, ¶ 16.)

      Defendants denied this allegation as well, as the factual record has not yet

      been developed.” (Doc. 6, ¶ 16.)




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3. “Later that day, on July 2, 2023, Woodbury Police Officer Robert McDaniel

   cited, arrested, and jailed plaintiff for Disorderly Conduct, noting that the

   basis for the arrest was ‘accosting’ Defendant Matthews and yelling and

   cursing about his water service ending.” (Doc. 2, ¶ 17.) Defendants denied

   this allegation, in part, in the form and manner alleged to the extent it

   suggests plaintiff was arrested solely for his speech. (Doc. 6, ¶ 17.)

4. “Although plaintiff sharply disputes that he yelled or cursed at all, even if he

   had, that would not have amounted to probable cause or arguable probable

   cause for disorderly conduct under a facially constitutional statute.” (Doc. 2,

   ¶ 18.) Defendants denied this allegation, which is a legal conclusion,

   because it is an incorrect legal conclusion: plaintiff’s actual conduct does

   not determine the probable cause (or arguable probable cause) analysis,

   which is instead based on the victim’s statements to Officer McDaniel.

   (Doc. 6, ¶ 18.)

5. “At no point was plaintiff aggressive, violent, or threatening, and his speech

   did not amount to fighting words. At most, plaintiff expressed frustration for

   his lack of water in the heat of the summer with an infant in the home.”

   (Doc. 2, ¶ 19.) These defendants denied this allegation, in part, because the

   received an altogether different report from the victim. (Doc. 6, ¶ 19.)




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     6. “While it is alleged that plaintiff’s speech took place in a public parking lot,

        it is not alleged that any other people were around. In fact, no other people

        were around.” (Doc. 2, ¶ 21.) These defendants denied this allegation in the

        form and manner alleged, in part, because the victim was present. (Doc. 6,

        ¶ 21.)

             II.     ARGUMENT AND CITATION TO AUTHORITY

A.      STANDARDS OF REVIEW

        1.       Fed. R. Civ. P. 12(c)

        A party may move for judgment on the pleadings after the pleadings are

closed. Fed. R. Civ. P. 12(c). A motion for judgment on the pleadings is governed

by the Rule 12(b)(6) motion to dismiss standard. Horsley v. Feldt, 304 F.3d 1125,

1131 (11th Cir. 2002). Under this standard, a claim should be dismissed if the facts

alleged do not “raise a right to relief above the speculative level.” Bell Atl. Corp. v.

Twombly, 550 U.S. 544, 555 (2007). While a court will accept well-pleaded

allegations as true, “conclusory allegations, unwarranted factual deductions or

legal conclusions masquerading as facts will not prevent dismissal.” Davila v.

Delta Air Lines, Inc., 326 F.3d 1183, 1185 (11th Cir. 2003). Finally, the Court

must construe the pleadings in a light most favorable to the non-moving parties.

Jones v. NordicTrack, Inc., 236 F.3d 658, 660 (11th Cir. 2000).




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      2.     Preliminary Injunction Standard

      It is well settled that “a preliminary injunction in advance of trial is an

extraordinary remedy.” Bloedorn v. Grube, 631 F.3d 1218, 1229 (11th Cir. 2011).

To prevail, the plaintiff bears the burden of “clearly establishing” the four criteria:

(1) a substantial likelihood of success on the merits; (2) irreparable injury will be

suffered unless the injunction issues; (3) the threatened injury to the movant

outweighs whatever damage the proposed injunction may cause the opposing

party; and (4) if issued, the injunction would not be adverse to the public interest.

Id. (internal quotations omitted).

      As explained below, the Court has ample reason to deny plaintiff’s motion.

B.    Plaintiff’s Motion for Preliminary Injunction Fails.

      1.     Plaintiff Cannot Demonstrate a Substantial Likelihood of Success
             on the Merits.

      Plaintiff claims the City’s ordinance is unconstitutionally vague. “Vagueness

arises when a statute is so unclear as to what conduct is applicable that persons ‘of

common intelligence must necessarily guess at its meaning and differ as to its

application.’ ” Wilson v. State Bar of Ga., 132 F.3d 1422, 1429 (11th Cir. 1998)

(quoting United States v. Gilbert, 130 F.3d 1458, 1462 (11th Cir. 1997)). “The

void for vagueness doctrine serves two central purposes: (1) to provide fair notice

of prohibitions, so that individuals may steer clear of unlawful conduct; and (2) to

prevent arbitrary and discriminatory enforcement of laws.” Mason v. Fla. Bar, 208
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F.3d 952, 959 (11th Cir. 2000). Thus, “[t]o overcome a vagueness challenge, a

statute must give the person of ordinary intelligence a reasonable opportunity to

know what is prohibited; and it must provide explicit standards for those who

apply them to avoid arbitrary and discriminatory enforcement.” Fla. Ass’n of Prof’l

Lobbyists, Inc. v. Div. of Legislative Info. Servs. of the Fla. Office of Legislative

Servs., 525 F.3d 1073, 1078 (11th Cir. 2008) (per curiam) (internal quotation

marks omitted).

             a.    Fair Notice of Prohibitions

      A facial challenge to an ordinance seeks to invalidate the ordinance itself.

Horton v. City of St. Augustine, 272 F.3d 1318, 1329 (11th Cir. 2001). The

Eleventh Circuit has recognized “[s]ome disagreement . . . among members of the

Supreme Court on exactly how high the threshold for facial invalidation should be

set.” Fla. League of Pro. Lobbyists, Inc. v. Meggs, 87 F.3d 457, 459 (11th Cir.

1996). Though this disagreement persists, the U.S. Supreme Court “agree[s] that a

facial challenge must fail where the statute has a ‘plainly legitimate sweep.’ ”

Washington State Grange v. Washington State Republican Party, 552 U.S. 442,

449 (2008) (citations omitted).

      “Facial challenges are disfavored” for at least three reasons. Id. at 450. First,

facial challenges “often rest on speculation” and therefore “raise the risk of

premature interpretation of statutes on the basis of factually barebones records.” Id.


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(internal quotation marks omitted). Second, facial constitutional challenges “run

contrary to the fundamental principle of judicial restraint that courts should neither

anticipate a question of constitutional law in advance of deciding it nor formulate a

rule of constitutional law broader than is required by the precise facts to which it is

to be applied.” Id. (internal quotation marks omitted). Third, “facial challenges

threaten to short circuit the democratic process by preventing laws embodying the

will of the people from being implemented in a manner consistent with the

Constitution.” Id. at 451.

      City of Woodbury Disorderly Conduct Ordinance, § 16-67, states as follows:

             It shall be unlawful for any person in the city to engage
             in any violent, tumultuous, obstreperous or similar
             disorderly conduct tending to infringe on the peace and
             repose of the citizens of the city. Fighting between two or
             more persons in which physical contact is made, except
             that which occurs at boxing exhibitions duly authorized
             by the city, shall be deemed to be disorderly conduct
             within the meaning of this section.

Sec. 16-67. Plaintiff contends that the City’s disorderly conduct ordinance

criminalizes “tumultuous” and “obstreperous speech” without a requirement that

the speech also constitute fighting words, which criminalizes exciting, confused, or

rude language citing Gooding v. Wilson, 405 U.S. 518, 525 (1972). (Complaint,

¶ 24). Specifically, plaintiff claims the U.S. Supreme Court declared a “virtually

identical” statute to be unconstitutional in Gooding. (Doc. 15-1, pp. 2, 6.)



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      Plaintiff’s argument that the instant ordinance is “virtually identical” to the

statute struck down in Gooding is patently disingenuous. In Gooding, the Supreme

Court struck down a law that expressly regulated speech. The statute at issue in

Gooding, former O.C.G.A. § 26-6303 (1933), was entitled “Using abusive or

obscene language,” and provided that “Any person who shall, without provocation,

use to or of another, and in his presence, opprobrious words or abusive language,

tending to cause a breach of the peace . . . shall be guilty of a misdemeanor.” Id.

at 519 (emphasis added); O.C.G.A. § 26-6303 (1933). In contrast, and as shown

above, the City’s ordinance makes it a crime “for any person in the city to engage

in any violent, tumultuous, obstreperous or similar disorderly conduct tending to

infringe on the peace and repose of the citizens of the city.” Woodbury Code of

Ordinances § 16-67 (emphasis added). Thus, plaintiff’s representation to this Court

that the two statutes are “virtually identical” is baffling. By any objective reading,

they are not. The older Georgia statute criminalizes “language,” whereas the City’s

ordinance criminalizes “conduct.”

      The speech/conduct distinction is the touchstone of First Amendment

jurisprudence. “While drawing the line between speech and conduct can be

difficult, [the Supreme] Court’s precedents have long drawn it, . . . and the line is

‘‘long familiar to the bar.’” Nat’l Inst. of Fam. & Life Advocs. v. Becerra, 138 S.

Ct. 2361, 2373 (2018). Plaintiff’s motion for injunctive relief and partial judgment


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on the pleadings is based entirely on his false comparison of the City’s ordinance

criminalizing conduct with an unconstitutional statute criminalizing language—

with absolutely no acknowledgement of the longstanding speech/conduct

distinction. This alone should tell the Court everything it needs to deny plaintiff’s

meritless motion.

      Applying the proper standard, the language in the City ordinance provides

fair notice of the prohibited conduct because its terms provide fair notice to

residents not to engage in “violent” and “tumultuous” conduct. Indeed, the Georgia

Supreme Court has previously held that such terms would put a person of common

intelligence on notice of what of what conduct would be prohibited. See Freeman

v. State, 302 Ga. 181, 183, 805 S.E.2d 845, 848 (2017) (“A person of common

intelligence can ascertain from the word “tumultuous” that he or she may be found

guilty of disorderly conduct under OCGA § 16–11–39 (a) (1) when that person acts

in a disorderly, turbulent, or uproarious manner toward another person, which

places the other person in reasonable fear for his or her safety.”). Thus, the

ordinance is not vague because the conduct prohibited is clear.

             b.     Arbitrary and Discriminatory Enforcement

      Legislation may be unconstitutionally vague on its face if “it encourages

arbitrary enforcement by failing to describe with sufficient particularity what a

suspect must do in order to satisfy the statute.” Georgia Outdoor Network, Inc. v.


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Marion Cnty., 652 F. Supp. 2d 1355, 1366–67 (M.D. Ga. 2009) (quoting Kolender

v. Lawson, 461 U.S. 352, 361 (1983)). The Supreme Court recognized “the

requirement that a legislature establish minimal guidelines to govern law

enforcement” is the most important aspect of the vagueness doctrine.” Kolender,

461 U.S. 352.

      As discussed above, the ordinance reasonably defines the prohibited

behavior restrictions. Even if “similar disorderly conduct tending to infringe on the

peace and repose of the citizens of the city” could arguably be considered broad

and give law enforcement the discretion to determine what infringes on the peace

and repose of the citizens of the city, that is not enough to invalidate the ordinance.

See Vill. of Hoffman Estates v. Flipside, Hoffman Estates, Inc., 455 U.S. at 489,

503 (1982) (finding that even though an ordinance gave police officers

considerable discretion “to give meaning to the ordinance and to enforce it fairly,”

the speculative danger of arbitrary enforcement was not sufficient to render the

ordinance facially void for vagueness)).

      Thus, the City ordinance has a plainly legitimate sweep, and it does not pose

a danger of arbitrary and discriminatory enforcement because it clearly defines the

behavior that would constitute disorderly conduct.




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      2.     Irreparable Injury Will Not Result From Denial of a Preliminary
             Injunction.

      The purpose of a preliminary injunction is to “position the parties as best we

can until a trial on the merits may be held.” Bloedorn v. Grube, 631 F.3d 1218,

1229 (11th Cir. 2011). “The irreparable injury sufficient to satisfy the burden

“must be neither remote nor speculative, but actual and imminent.” In re Georgia

Senate Bill 202, 622 F. Supp. 3d 1312, 1339 (N.D. Ga. 2022) (citing Siegel v.

LePore, 234 F.3d 1163, 1176 (11th Cir. 2000)) (emphasis added). Here, as set forth

above, the ordinance at issue criminalizes conduct, not speech. Therefore, plaintiff

has not suffered a loss of First Amendment freedom, which is required to show

irreparable injury. See Elrod v. Burns, 427 U.S. 347, 373 (1976) (finding “[t]he

loss of First Amendment freedoms, for even minimal periods of time,

unquestionably constitutes irreparable injury.”). Therefore, plaintiff has not

satisfied the irreparable harm factor of the preliminary injunction test.

      3.     Granting the Preliminary Injunction will not Serve the Public
             Interest.

      “Under the third and fourth factors of the preliminary injunction test, a court

must weigh (i) whether the City’s interest in maintaining its disorderly conduct

ordinance outweighs the threat of injury to plaintiff and (ii) whether an injunction

would be adverse to the public’s interests, which merge with those of the state.” In

re Georgia Senate Bill 202, 622 F. Supp. 3d 1312. Here, the ordinance in question


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is not facially unconstitutional and does not regulate plaintiff’s speech. Likewise,

the ordinance does not prevent plaintiff from pointing out racist behavior or

complaining that his water service was turned off despite the fact he did not pay his

bill. Therefore, plaintiff fails to satisfy the third or fourth prongs of the preliminary

injunction test.

C.    Plaintiff’s Monell Claim Against the City Fails.

      Plaintiff’s Monell claim against the City is premature because the ordinance

at issue is constitutional. To establish municipal liability under § 1983, a plaintiff

must show “a direct causal link between a municipal policy or custom and the

alleged constitutional deprivation.” City of Canton v. Harris, 489 U.S. 378, 385

(1989). As shown above, the City’s ordinance does not offend the Constitution.

Further, even if there was some question about the constitutionality of the City’s

ordinance at this stage, judgment on the pleadings with respect to the Monell claim

would be premature as there has been no discovery on the relevant facts of the

case—i.e., plaintiff’s actual conduct or how that conduct was reported to Corporal

McDaniel.

      As shown above, the City has denied most of the operative, necessary facts

to establish plaintiff’s claim on Count I. By virtue of these denials, issues of fact

have been raised in the pleadings that preclude judgment on the pleadings at this

stage. Jones v. NordicTrack, Inc., 236 F.3d 658, 660 (11th Cir. 2000).


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Furthermore, the Court must construe the alleged facts and the City’s denials in a

light most favorable to the non-moving parties. Id.

      Because the defendants have denied the operative facts in plaintiff’s

complaint that might state a claim for Free Speech violations (Count One), the

Court should deny plaintiff’s motion for judgment on the pleadings for the Monell

claim and allow the parties to further develop the necessary factual record to reach

a determination on this claim.

D.    Corporal McDaniel is Entitled to Qualified Immunity.

      Just as a preliminary injunction and judgment on the pleadings with respect

to the City’s ordinance are premature at this stage, so is plaintiff’s motion for

judgment on the pleadings as to Corporal McDaniel. Given the denials in the

answer and lack of any factual development whatsoever, it cannot be shown at this

early stage that Corporal McDaniel violated plaintiff’s constitutional rights—much

less his clearly established constitutional rights—such that he is not entitled to the

defense of qualified immunity at this stage.

      The sole basis for plaintiff’s motion for judgment on the pleadings with

respect to Corporal McDaniel is plaintiff’s suggestion that he simply must have

known that the City’s ordinance was unconstitutional based on the Supreme

Court’s holding in Gooding v. Wilson, even though a Court has never declared this




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particular ordinance to be unconstitutional. There are several problems with this

theory.

      First, as shown above, the statute at issue in Gooding is not, as plaintiff

insists, “functionally identical” to the City’s ordinance here, because the City’s

ordinance concerns only conduct, whereas the statute at issue in Gooding

concerned language. For the same reasons the decision in Gooding does not

warrant a preliminary injunction on the enforcement of the ordinance at issue here,

it also would not put a reasonable officer on notice that there was any issue or

problem with respect to City’s ordinance.

      Second, even if another court had previously declared the City’s ordinance

(or one that is actually identical to it) to be unconstitutional, that would not end the

analysis with respect to Corporal McDaniel. The elements for a § 1983 claim for

malicious prosecution include: (1) the elements of the common law tort of

malicious prosecution and (2) a violation of the Fourth Amendment right to be free

from unreasonable searches and seizures. Grider v. City of Auburn, 618 F.3d 1240,

1256 (11th Cir. 2010). The common law elements of malicious prosecution are: (1)

criminal prosecution initiated by the defendant; (2) with malice and without

probable cause; (3) that terminated in the plaintiff’s favor; and (4) caused damages

to the plaintiff. Wood v. Kessler, 323 F.3d 872, 882 (11th Cir. 2003).




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      “[T]he existence of probable cause defeats a § 1983 malicious prosecution

claim.” Grider, 618 F.3d at 1256. Probable cause exists where an arrest is

objectively reasonable under the circumstances. Lee v. Ferraro, 284 F.3d 1188,

1195 (11th Cir. 2002). “This standard is met when the facts and circumstances

within the officer’s knowledge, of which he or she has reasonably trustworthy

information, would cause a prudent person to believe, under the circumstances

shown, that the suspect has committed or is committing or is about to commit an

offense.” Wood, 323 F.3d at 882. The standard does not require the same type of

specific evidence of each element of offense as would be needed to support a

conviction. Holmes v. Kucynda, 321 F.3d 1069, 1079 (11th Cir. 2003).

      However, even where actual probable cause is lacking, officers will be

entitled to the defense of qualified immunity on a malicious prosecution claim if

there was arguable probable cause for the arrest. “[Q]ualified immunity offers

complete protection for government officials sued in their individual capacities as

long as their conduct violates no clearly established statutory or constitutional

rights which a reasonable person would have known.” McCullough v. Antolini,

559 F.3d 1201, 1205 (11th Cir. 2009). “The purpose of qualified immunity is to

allow officials to carry out their discretionary duties without the fear of personal

liability or harassing litigation.” Poulakis v. Rogers, 341 F. App’x 523, 525 (11th

Cir. 2009) (citing Anderson v. Creighton, 483 U.S. 635, 638-39 (1987)). Qualified


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immunity protects from suit “all but the plainly incompetent or one who is

knowingly violating the federal law.” Lee, 284 F.3d at 1194.

      To overcome qualified immunity, a plaintiff must show: (1) the facts viewed

in the light most favorable to her establish a constitutional violation by the officer;

and (2) the unlawfulness of the officer’s actions was “clearly established” at the

time of the incident. Poulakis, 341 F. App’x at 525. Concerning arrests, a

constitutional violation depends on whether actual probable existed for the arrest,

but whether a constitutional right was “clearly established” depends on whether

there was arguable probable cause for the arrest. See Case v. Eslinger, 555 F.3d

1317, 1326-27 (11th Cir. 2009).

      Actual probable cause exists “when the facts and circumstances within the

officer’s knowledge, of which he or she has reasonably trustworthy information,

would cause a prudent person to believe, under the circumstances shown, that the

suspect has committed or is committing or is about to commit an offense.” Wood,

323 F.3d at 882. Arguable probable cause exists where an officer reasonably but

mistakenly believes probable cause existed in light of the information the officer

possessed. Id. Importantly, arguable probable cause does not require proof of every

element of a crime. Grider, 618 F.3d at 1257.

      Plaintiff appears to assume there was no actual or no arguable probable

cause for his arrest here because the ordinance for which plaintiff was arrested is


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superficially similar to the statute the Supreme Court had declared unconstitutional

in Gooding. However, the standard for arguable probable cause is not “has a statute

been declared unconstitutional”—and indeed, plaintiff points to no rule

establishing that prosecution of a judicially barred criminal statute bars qualified

immunity per se. Rather, the standard for arguable probable cause is “whether an

officer reasonably could have believed that probable cause existed, in light of the

information the officer possessed.” Wood, 323 F.3d at 878.

      The question, then, does not turn on whether the City’s ordinance or a

similar staute had been declared unconstitutional before plaintiff was prosecuted—

rather, the dispositive question, after further factual development in discovery, will

be whether a reasonable officer would have known the statute was

unconstitutional. And here, a reasonable officer would not have made the

inferential leap that plaintiff makes here: that a Supreme Court decision that a

statute regulating language is unconstitutional would encompass a functionally

distinct city ordinance governing conduct. To date, the City’s ordinance has not

been repealed and it is still “on the books” in Woodbury.

      But even if the City’s specific ordinance had been previously declared

unconstitutional, that would not necessarily mean Corporal McDaniel would have

acted unreasonably in enforcing it. Not surprisingly, other courts have observed

that an officer is not necessarily deprived of qualified immunity where he had


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probable cause to arrest based on a statute that had been declared unconstitutional

but nevertheless remained “on the books.” In Amore v. Novarro, 624 F.3d 522 (2d

Cir. 2010), an officer arrested the plaintiff under a statute that had been declared

unconstitutional eighteen years earlier. Id. at 525-26. Even so, it remained “on the

books,” unrepealed by the state legislature and appearing in published versions of

the New York Penal Law, Westlaw, and Lexis sites without notation that the

statute was unconstitutional. Id. at 533. Even though the law had been

unconstitutional for nearly two decades, the court in Amore held the arresting

officer was nevertheless entitled to qualified immunity: “In determining whether

an officer is entitled to qualified immunity, the question is not what a lawyer would

learn or intuit from researching case law, but what a reasonable person in the

defendant’s position should know about the constitutionality of the conduct.” Id. at

533-34. The court found no prior case law suggesting “that if a statute has been

held unconstitutional, adherence to it by a law enforcement official is, ipso facto,

unreasonable    for    qualified   immunity     purposes     irrespective   of   the

circumstances. We do not think that to be the law.” Id. at 534.

      Amore, then, stands for the proposition that officers can act reasonably by

enforcing an unconstitutional statute that remains “on the books.” How much more

reasonable, then, did Corporal McDaniel act here by enforcing an ordinance that

had not been declared unconstitutional?


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      In short, the Supreme Court’s decision in Gooding cannot, in any way, be

the sole determinative factor on plaintiff’s unlawful seizure claim against Corporal

McDaniel. That claim can only be resolved based on the “facts and circumstances

within [Corporal McDaniel’s] knowledge, of which he [] has reasonably

trustworthy information” from a source such as a reporting victim. See Wood, 323

F.3d at 882. At this stage, the operative “facts and circumstances” as alleged by

plaintiff have been denied. Construing those denials with plaintiff’s allegations in

defendant’s favor, it is simply premature to reach a conclusion as to Corporal

McDaniel’s liability or qualified immunity defense here. That determination can

only come with further factual development through discovery. Accordingly, the

Court should deny plaintiff’s motion for judgment on the pleadings as to Corporal

McDaniel.

                              III.   CONCLUSION

      For the foregoing reasons, defendants respectfully request that the Court

deny plaintiff’s motion for preliminary injunction and for partial motion for

judgment on the pleadings.

      Respectfully submitted this 22nd day of December, 2023.

                                      FREEMAN MATHIS & GARY, LLP


                                      /s/ Wesley C. Jackson
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                      CERTIFICATE OF COMPLIANCE

      I certify that the foregoing has been prepared with Times New Roman, 14-

point font, in compliance with L.R. 5.1(b).


                                      /s/ Wesley C. Jackson
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                         CERTIFICATE OF SERVICE

      I hereby certify that I have this day electronically submitted the foregoing

DEFENDANTS CITY OF WOODBURY AND CORPORAL MCDANIEL’S

RESPONSE       IN    OPPOSITION         TO     PLAINTIFF’S        MOTION        FOR

INJUNCTIVE RELIEF AND PARTIAL MOTION FOR JUDGMENT ON THE

PLEADINGS to the Clerk of Court using the CM/ECF system which will

automatically send electronic mail notification of such filing to counsel of record

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      This 22nd day of December, 2023.

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